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Attorneys for Defendants


                              UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF UTAH


    CAPANA SWISS ADVISORS AG, a Swiss                    DEFENDANTS’ SHORT-FORM
    corporation; AMERIMARK AUTOMOTIVE                    DISCOVERY MOTION FOR A
    AG, a Swiss corporation,                              PROTECTIVE ORDER RE
                                                         OVERBROAD THIRD-PARTY
                     Plaintiffs,                               SUBPOENAS

    vs.
                                                              Case No.: 2:23-cv-00467
    RYMARK, INC., a Utah corporation;
    NICHOLAS THAYNE MARKOSIAN, an                             Judge: Robert J. Shelby
    individual; JOHN KIRKLAND, an                       Magistrate Judge: Cecilia M. Romero
    individual; and VICKKY SMALL, an
    individual,

                         Defendants.

          In this dispute over the ownership of Defendant Rymark, Inc., Plaintiffs have adopted a

scorched-earth approach to third-party discovery. Plaintiffs have served third-party subpoenas

on, among others, every bank, credit union, or finance provider Plaintiffs can connect to Rymark,

trying to preclude Rymark’s access to capital and thereby put Rymark out of business. 1 Then


1
  Why this seems like a good idea to Plaintiffs, who ostensibly want to own Rymark at the end of
this litigation, is a mystery.


                                                  1
they have filed these subpoenas on the public docket in an obvious attempt to embarrass

Rymark. 2

       Rymark is the victim of a fraudulent market manipulation scheme perpetuated by

Plaintiffs. Until now, Defendants have ignored these third-party subpoena antics. Yet over the

past several months, Plaintiffs appear to have served every company in the country ever

mentioned in Rymark’s business records or emails as a current or potential funding source. These

companies include: Bank of Utah , Bank of West, Mountain West Small Business Finance,

Holladay Bank and Trust, Ted Jenkins, Keddington & Christensen, LLC, Security Service Credit

Union, Utah Community Bank, White & Associates, Zions Bank, Covington Capital

Corporation, First Insurance Funding, Arrowhead General Insurance Agency, Inc., the Small

Business Administration, Katz Sapper & Miller LLP; Oak Street Funding; AAM Investments

LTD; and LHPH Capital. The subpoenas serve no purpose in the litigation. Rather, the

subpoenas are pretextual, and are simply a part of ongoing campaign of leveraging Defendants.

       With Plaintiffs now into the dozens of third-party subpoenas, Rymark finally says enough

is enough. Plaintiffs recently served a Rule 45 subpoena on Oak Street Funding and LHPH. Both

subpoenas, which Rymark would provide to the Court upon request, 3 are vastly overbroad. As

examples, the Oak Street subpoena seeks:


2
  The standard federal subpoena form provides proofs of service (let alone actual requests)
should “not be filed with the court unless required by Fed. R. Civ. P. 45.” Rule 45 says that
proofs of service should only be filed “when necessary” to prove service, i.e., when service is
disputed. Nobody has disputed service on Plaintiffs’ subpoenas, but despite multiple requests
from Defendants, Plaintiffs continue to file subpoenas on the public docket.
3
 Local Rule DUCivR 37-1(b)(2)(B) does not permit parties to attach subpoenas to short-form
motions. Defendants present a short-form motion as apparently preferred by the Court and its
Local Rules. Defendants are happy to present a traditional-length motion on request.


                                                2
       (i) all documents and communications relating to any loan application (personal or

commercial) for Rymark or its owner, Mr. Markosian;

       (ii) all communications Oak Street had with anyone else relating to Defendants;

       (iii) all communications from Rymark to Oak Street;

       (iv) all communications between Oak Street and Rymark’s current trial counsel; and

       (v) all communications related to “ongoing or potential legal claims” against Rymark.

       These documents are not important to this litigation that involves a securities fraud

scheme which Plaintiffs implemented in Europe. And Plaintiffs neglected to ask Rymark for the

information sought in these subpoenas. In other words, Plaintiffs do not appear to be engaged in

a good-faith search for relevant information (which would naturally begin with discovery

requests to Rymark, not Rule 45 subpoenas). Rather, Plaintiffs seek to damage Rymark’s

reputation with financing sources, and do so without seriously trying to advance the adjudicative

interests of this case. Rymark respectfully submits that the Court end this improper practice by

issuing a protective order ruling that Oak Street and LHPH are not required to respond to the

Subpoena.

                                        CERTIFICATION

       Plaintiffs have refused to telephonically meet and confer with Defendants averring they

would not consent to recordings of those calls. Relevant background: after tiring of months of

insults from Plaintiffs’ counsel on those calls, Defendants’ counsel have insisted on recording

meet-and-confer calls. The proposed protocol included notification and immediate circulation to

all parties of the recording. Plaintiffs through Erik Christiansen refuse to participate.




                                                  3
Defendants remain disappointed that Plaintiffs’ counsel declines this simple prophylactic

measure, and look forward to Court resolution of pending motion practice on this issue.

       DATED: August 5, 2024
                                                    KUNZLER BEAN & ADAMSON, PC

                                                    /s/ Chad S. Pehrson
                                                    R. Jeremy Adamson
                                                    Chad S. Pehrson
                                                    Robert Harrington
                                                    Stephen Richards

                                                    Attorneys for Defendants




                                                4
                                 CERTIFICATE OF SERVICE
       I hereby certify that on this 25th day of July, 2024, I filed the foregoing DEFENDANTS’

SHORT-FORM DISCOVERY MOTION FOR A PROTECTIVE ORDER RE

OVERBROAD THIRD-PARTY SUBPOENAS via the Court's CM/ECF system, which

provided notice of such filing to all counsel of records.



                                                      /s/Chad S. Pehrson




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